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                        IN THE UNITED STATES DISTRICT COURT
                         FOR NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FLAVA WORKS, INC.,                              )
                                                )       Case No. 2017 cv 1171
         Plaintiff,                             )
                                                )
-v-                                             )       Hon. Ronald Gettleman
                                                )
SALSAINDY, LLC, &                               )
MARQUES GUNTER,                                 )
                                                )
         Defendants.                            )

      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                           SUMMARY JUDGMENT

         NOW COMES the Plaintiff, Flava Works, Inc., by and through its attorneys, and provides

this Response in Opposition to Defendants’ Motion for Summary Judgment, states as follows:

                                            Introduction

        Plaintiff Flava Works, Inc. is a producer of adult content, nearly all of which is subject to

various registered copyrights. Plaintiff sells it content through a series of websites, distributors and

licensees. On its websites, Plaintiff charges a fee for access to its content.

        Plaintiff’s website users are further required to agree not to copy, transmit or sell the

content. However, users are allowed to download content for personal and non-commercial use.

As a result, a great deal of Plaintiff’s content can at times be found in the public domain. Plaintiff

is an active litigant and takes great lengths to protect its proprietary, protected, content.

        Websites such as the one which forms the basis of Plaintiff’s Complaint, myVidster.com,

are breeding grounds for copyright infringers. The website acts are a social video sharing platform

which allows users to upload and share videos they find online. myVidster users are further able

to download videos posted by other website users or even save them on myVidster’s cloud storage.



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       For many years, and continuing as of today, Plaintiff’s content can be found on myVidster.

Users of Plaintiff’s websites, myVidster users and others continue to illegally post Plaintiff’s

content on the website. While all social video sharing websites pose a problem to any rights owner,

myVidster is particularly problematic for Plaintiff as it is one of the most popular websites of its

kind in the United State and worldwide, and is one of the few that allows adult content to be posted.

       This is, of course, not the first time Plaintiffs and Defendants have met in this Court. On

October 12, 2010, Plaintiff filed a complaint against Defendants alleging various copyright

violations. After extensive litigation, on March 17, 2015, the parties entered into the Settlement

Agreement and the prior litigation was dismissed. That Settlement Agreement forms the basis of

the remaining Count of Plaintiff’s Complaint.

       Plaintiff’s breach of contract claim consists of eight (8) separate breaches of the

confidential settlement agreement resolving prior litigation between the parties (the “Settlement

Agreement”) (see Complaint at ¶¶168-175). Defendants entered into the Settlement Agreement in

bad faith without any intent to adhere to the same. As a direct and proximate result of the various

breaches of contract, Plaintiff has been injured.

       Indeed, Plaintiff has grown weary of litigation with Defendants, which has significantly

taxed its resources. However, Defendants’ willful and continuing breaches of the Settlement

Agreement leave it no choice but to pursue this path. Defendants’ own bad faith in entering into

the Settlement Agreement has made this litigation necessary, not some alleged scheme by Plaintiff

to force Defendant into another settlement, which they would presumably never adhere to either.

       At the same time, Defendants take great umbrage with Plaintiff’s discovery production in

this litigation. However, a motion for summary judgment is not the proper setting to argue the

relative completeness of a discovery response. Defendants had ample opportunity to object to the



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Plaintiff’s discovery responses but failed to do so – assuming they in fact had valid basis to object,

which they in fact did not.

                                      Settlement Agreement

       The first paragraph of the Settlement Agreement provides:

       API Tool. Within thirty (30) days of the Effective Date, Defendants will provide
       Webmasters (as defined herein) access to a back-end application program interface (API)
       tool on the myVidster.com website that allows Webmasters to see the source of infringing
       content and directly remove links to infringing content appearing on the website; provided
       that, each Webmaster must first authentic itself and request access from myVidster.com to
       this API. ‘‘Webmaster” is any person or company that owns and operates a website.
       Defendants will ensure that when a Webmaster removes a link to infringing content
       appearing on the myVidster.com website, the entire post or page associated with that link
       will also be removed thereby preventing the public from accessing the page or post
       containing the infringing material on the myVidster.com website, including posts or
       comments relating to the infringing material on the myVidster.com website. Subject to the
       terms herein, Defendants will provide notification on the myVidster.com website of the
       availability of this API tool.

While paragraph three of the Settlement Agreement provides:

       Assurances. Defendants will provide reasonable assurances that the API takedown tool
       provided pursuant to Paragraph 1 above is functional and will continue to be functional
       while the myVidster.com website is operational. If at any point the API tool should become
       non-functional while the myVidster.com website is operational, Defendants shall be
       required to return the tool to full functioning capacity within 72 hours of Defendants
       receiving notice that the API tool is not functional; provided that, if it is physically
       impossible to return the API tool to full functioning capacity within 72 hours by virtue of
       circumstances beyond Defendants' control, Defendants shall not be in breach of this
       provision by failing to do so within 72 hours, but Defendants will restore the API tool to
       full capacity as soon as physically possible.

There are countless links to Plaintiff’s protected content found on myVidster. Defendants were

required to provide Plaintiff with a tool that would give Plaintiff the ability to directly remove the

infringing links from myVidster. Defendants have never provided the tool to Plaintiff. As a result,

Plaintiff has been forced to rely on a mechanical “flagging” process to alert Defendants on the

existence of links to infringing content. The “flagging” process is inferior insomuch that it is

demonstrably slower – taking over one day for the link to be removed by Defendants. Moreover,

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the mechanical process leaves many of the infringing links on myVidster as Plaintiff is forced to

engage in a time-consuming process for identifying the links.

       The second paragraph of the Settlement Agreement provides:

       Termination of Accounts. Within thirty (30) days of the Effective Date, Defendants will
       adopt a policy, wherein if Defendants are advised by Plaintiff that a myVidster user is the
       Original Poster (as defined herein) of a link on myVidster.com to an allegedly infringing
       Flava Works video, Defendants will send that user a notice. If Defendants are advised by
       Plaintiff on three separate occasions that a myVidster user is the Original Poster (as defined
       herein) of a link on myVidster.com to an allegedly infringing Flava Works video (i.e., after
       that user has received two notices from myVidster), that user will be considered in violation
       of myVidster's terms and conditions and Defendants will disable his/her account, including
       any infringing materials posted by that user. An “Original Poster” is the user that initially
       linked the content at issue to myVidster.com and who is, therefore, responsible for first
       introducing the link at issue to the myVidster.com ecosystem. To be clear, an Original
       Poster is not a user that is merely linking to a link already present on myVidster.com. To
       facilitate identification of Original Posters, feature to the myVidster.com website that
       displays the username of the Original Poster beneath the name of each video on
       myVidster.com (e.g., a caption in the form of “Originally collected by [USER NAME)”).

Much of Plaintiff’s content found on myVidster can be attributed to certain “serial” posters who

have access to Plaintiff’s websites. Here, Defendants agreed to curtail habitual posters of infringing

links on mvVidster when in receipt of three (3) or more Digital Millenium Copyright Act

(“DMCA”) takedown notices. Plaintiff has sent, and continues to send, countless DMCA notices

to Defendants alerting them of the serial posters of Plaintiff’s content. Despite this, Defendants

have failed to take the required action of disabling the posters’ accounts and removing the

infringing links. As a result, the habitual posters continue to unlawfully post Plaintiff’s content on

myVidster without recourse.

       The fourth paragraph of the Settlement Agreement, in relevant part, provides:

       Do Not Post List. Within thirty (30) days of the Effective Date, Defendants will install a
       “Do Not Post” list on myVidster.com that directs myVidster users not to post links to
       certain production companies or studios, including Flava Works.




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“Do Not Post” notices are important to rights owner in that they alert website users of the potential

ramifications of copyright infringement. Defendants breached paragraph four of the Settlement

Agreement when it waited until approximately three months after the effective date of the

Settlement Agreement to add Plaintiff to its “Do Not Post” list. As a result, the number of

infringing links found on myVidster continued to increase during that period.

       Paragraph five of the Settlement Agreement provides:

       Disclosure of User Information. Upon termination of a myVidster user's account pursuant
       to Paragraph 2 above, Defendants will disclose to Flava Works certain personal data
       relating to that user where such data is in Defendants' possession. This personal data may
       include, · and is limited to, the user's: first and last name, login history (which includes
       date, time, and IP address at time of login), email address, internet protocol (IP) address,
       physical and billing address, and last four digits of his/her credit card. By agreeing to this
       provision, Defendants are in no way representing that they actually possess any of this
       information for any of their users.

As stated above, Defendants have willfully ignored the multitude of DMCA takedown notices that

it receives from Plaintiff. Accordingly, Defendants have failed to disable the user accounts of the

primary posters of infringing links on myVidster. Insomuch that they have tacitly approved the

continued abuse by these serial infringers, they have likewise handcuffed Plaintiff’s ability to seek

relief against such individuals by refusing to comply with the terms of paragraph five and provide

certain identifying information to Plaintiff.

       The sixth paragraph of the Settlement Agreement provides:

       Flava Works Advertisements. Defendants will include for a term of three (3) years
       commencing within thirty (30) days of the Effective Date a Flava Works banner on the
       adult home page of the myVidster.com website in the top right comer of the page under
       the “Create your own Video Collection” heading. This Flava Works banner shall be
       designed by Plaintiff, and submitted through I-frame banner code such that Plaintiff shall
       maintain control of the Flava Works banner and may update it as often as Plaintiff desires;
       provided that, Defendants retain a right of reasonable refusal for banner advertisements
       that are disparaging or defamatory, violate Defendants' Terms of Service, violate any law,
       or are otherwise detrimental to Defendants' website.




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Defendants breached the terms of paragraph six by first failing to add Plaintiff’s advertising banner

to myVidster for approximately one year following the effective date of the Settlement Agreement.

Moreover, Defendants acted in bad faith when it knowingly reduced the size of the add space after

the execution of the Settlement Agreement. The smaller, less effective banner add remains on

myVidster yet is not seen by all the website users, with “pro” users being excluded. The year long

delay in placing the advertisement, combined with the smaller size and lack of uniform visibility

has impaired the advertisement’s effectiveness and has directly caused a loss of revenue to

Plaintiff.

        Paragraph seven of the Settlement Agreement provides:

        Flava Works Banners. Defendants will, within thirty (30) days of the Effective Date, use
        the keywords listed in Schedule A to identify Flava Works videos by searching only the
        title and description of videos on the myVidster.com website, and will include a banner
        advertisement designed by Plaintiff beneath each such identified video. This banner
        advertisement is subject to Defendants' approval, which shall not be withheld except for
        banner advertisements that are disparaging or defamatory, violate Defendants' Terms of
        Service, violate any law, or are otherwise detrimental to Defendants' website. Plaintiff may
        supplement this list of keywords a total of four (4) times per year, provided that Defendants
        retain a right of reasonable refusal in deciding whether to adopt such additional,
        supplemental keywords in the event a proposed keyword is overly-broad or likely to create
        a large number of false positive hits. In the event that Defendants invoke their reasonable
        right of refusal based on their belief that a particular keyword is not proprietary to or
        uniquely associated with Plaintiff, Plaintiff may provide proof of ownership thereof. If
        Plaintiff provides suitable proof of ownership of a particular keyword, Defendants shall
        withdraw their refusal. In the event that Plaintiff cannot establish proof of ownership of a
        particular keyword, Defendants will have no obligation to use that term in identifying Flava
        Works videos and need not include a banner advertisement beneath videos relating to that
        keyword. Plaintiff hereby represents and warrants that all model and actor names included
        in Schedule A as keywords are proprietary to Plaintiff or otherwise refer to models and/or
        actors who work exclusively for Plaintiff.

Paragraph seven requires Defendants to show Plaintiff’s banner advertisement each time certain

keywords identified by Plaintiff are searched on myVidster. Despite this, the banner advertisement

fails to show when any of the keywords are searched. Again, Plaintiff faces a loss of revenue by

virtue of the advertisements failing to show.

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                                          Legal Standard

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a).

A genuine dispute as to any material fact exists if “the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,

106 S. Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986); see also Life Plans, Inc. v. Security Life of Denver

Ins. Co., 800 F.3d 343, 349 (7th Cir. 2015). In determining summary judgment motions, “facts

must be viewed in the light most favorable to the nonmoving party only if there is a ‘genuine’

dispute as to those facts.” Scott v. Harris, 550 U.S. 372, 380, 127 S.Ct. 1769, 167 L.Ed.2d 686

(2007). The party seeking summary judgment has the burden of establishing that there is no

genuine dispute as to any material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct.

2548, 91 L.Ed.2d 265 (1986). After “a properly supported motion for summary judgment is made,

the adverse party ‘must set forth specific facts showing that there is a genuine issue for trial.’”

Anderson, 477 U.S. at 255 (quotation omitted). “To survive summary judgment, the non-moving

party must show evidence sufficient to establish every element that is essential to its claim and for

which it will bear the burden of proof at trial.” Life Plans, Inc., 800 F.3d at 349.

       In Illinois, “[t]o prevail on a breach of contract claim, a plaintiff must establish the

existence of a valid and enforceable contract, plaintiff’s performance, defendant’s breach of the

terms of the contract, and damages resulting from the breach.” Spitz v. Proven Winners N. Am.,

LLC, 759 F.3d 724, 730 (7th Cir. 2014). Illinois courts “look to the contract as a whole in

interpreting its individual terms, adopting an understanding of the language that is natural and

reasonable.” Land of Lincoln Goodwill Indus., Inc. v. PNC Fin. Servs. Group, Inc., 762 F.3d 673,

679 (7th Cir. 2014). In other words, “[t]erms of a [contract] which are clear and unambiguous must



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be given effect as written.” JPMorgan Chase Bank, N.A. v. East-West Logistics, 9 N.E.3d 104,

115, (1st Dist. 2014).

                                      Argument in Opposition

        Defendants have unequivocally breached various terms of the Settlement Agreement. The

first and third paragraphs of the Settlement Agreement required Defendants to provide Plaintiff

with an API tool to directly remove infringing links from myVidster. By their own admission,

Defendants contend that the tool they agreed to provide is not technically possible and therefore

was not provided to Plaintiff. Statement of Facts at ¶ 4. Yet, Defendants agreed to provide the API

tool. The tool that Defendants did provide is not what was bargained for in the Settlement

Agreement as it requires a mechanical process by Plaintiff and removes links over a day after

identification. Statement of Facts at ¶ 5.

        Paragraph two the Settlement Agreement required Defendants to disable the accounts of

serial posters of infringing links. Statement of Facts at ¶ 8. Plaintiff did in fact provide the requisite

notices to Defendants on numerous occasions. Statement of Facts at ¶ 12. Plaintiff further provided

a comprehensive list of such users in its discovery responses to Defendants. Defendants willfully

ignored those notices and have failed to take the required action of disabling the posters’ accounts

and removing the infringing links.

        Paragraph four of the Settlement Agreement required Defendants to include Plaintiff on its

“Do Not Post” list found on myVidster. Defendants failed to include Plaintiff on the list for

approximately three (3) months following the Effective Date of the Settlement. Statement of Facts

at ¶ 20. The inclusion of Plaintiff on the “Do Not Post” list was at all times completely within the

control of Defendants, but Defendants failed to comply.




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       The sixth paragraph of the Settlement Agreement provided that Defendants were required

to add Plaintiff’s banner advertisement to myVidster for approximately one year following the

effective date of the Settlement Agreement. Statement of Facts at ¶ 24. Moreover, once the add

was placed it was made smaller than what was originally contemplated in the Settlement

Agreement. Defendants failed to place the advertisement for a period of approximately one year,

and when it did comply the compliance was insufficient as the advertisement size had been

reduced. Statement of Facts at ¶ 27-28.

       Paragraph seven of the Settlement Agreement requires Defendants to show Plaintiff’s

banner advertisement each time certain keywords identified by Plaintiff are searched on

myVidster. Plaintiff produced screenshots indicating that the banner advertisements were in fact

not showing when required. Statement of Facts at ¶ 34. Defendants contend that the failure of the

banner advertisement to display is the result of user error, but that fact is immaterial to the

bargained for terms found int the Settlement Agreement.

       Finally, Plaintiff has properly alleged damages in its Complaint, including actual and

compensatory damages for Defendants’ willful breaches of the Settlement Agreement. Plaintiff

further responded in its response to Defendants’ Interrogatories its basis for damages caused by

Defendants’ breaches of contract. As a direct and proximate result of Defendants conduct, Plaintiff

has incurred a loss of revenue related to: (a) the continued posting of Plaintiff’s protected works

on the myvidster.com website; (b) the failure to display and/or properly display Plaintiff’s

advertisements on the myvidster.com website; and (c) the impaired reputation of Plaintiff caused

by the continued dilution of its protected works.




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                                          Conclusion

       WHEREFORE, Plaintiff Flava Works, Inc. moves this Honorable Court for an Order

denying Defendants Motion for Summary Judgment.



Dated: January 18, 2019                     FLAVA WORKS INC

                                            /s/ Adam S. Tracy__________________
                                            By Its Attorney
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                               CERTIFICATE OF SERVICE

       I, Adam S. Tracy an attorney, state that I served a copy of the foregoing Defendants’ Rule

56 Statement of Undisputed Material Facts upon:

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by the ECF system on January 20, 2018

                                            /s/ Adam S. Tracy__________________




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